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                           UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

In re:                                    )
                                          )                            Chapter 11
LTL MANAGEMENT LLC,      1                )
                                          )                            Case No. 21-30589 (JCW)
            Debtor.                       )
_________________________________________ )
                                          )
LTL MANAGEMENT LLC,                       )
                                          )
            Plaintiff,                    )
                                          )
v.                                        )                            Adv. Pro. No. 21-03032 (JCW)
                                          )
THOSE PARTIES LISTED ON APPENDIX          )
A TO COMPLAINT and JOHN AND JANE          )
DOES 1–1000,                              )
                                          )
            Defendants.                   )
_________________________________________ )

                   JOINT DESIGNATION OF EXHIBITS AND WITNESSES
                    OF CERTAIN MESOTHELIOMA CLAIMANTS AND
                     THE MDL PLAINTIFFS’ STEERING COMMITTEE

         NOW COME the law firms of Maune Raichle Hartley French & Mudd, LLC; Levy

Konigsberg LLP; Kazan, McClain, Satterley & Greenwood; and Weitz & Luxenberg P.C. (on

behalf of “Certain Mesothelioma Claimants”); 2 together with the Plaintiffs’ Steering Committee

(the “PSC”) in the In re Johnson & Johnson Talcum Powder Products Marketing, Sales Practices




1
  The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
Street, New Brunswick, New Jersey 08933.
2
  The law firms submitted the Memorandum of Law of Certain Mesothelioma Claimants As Creditors in Opposition
to Debtor’s Motion for an Order (I) Declaring that the Automatic Stay Applies to Certain Actions Against Non-debtors
or (II) Preliminarily Enjoining Such Actions and (III) Granting a Temporary Restraining Order Pending a Final
Hearing (the “Meso Claimants’ Memorandum”) [ECF No. 44] for practical and procedural purposes only, and these
submissions do not constitute any acceptance of service or waiver of rights regarding notice and service.


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and Products Liability Multi-District Litigation (MDL No. 2738) before the United States District

Court for the District of New Jersey, MDL no. 16-2738 (FLW) (LHG) (the “MDL”), by and

through the undersigned counsel, and hereby submit this Joint Designation of Exhibits and

Witnesses of Certain Mesothelioma Claimants and the MDL Plaintiffs’ Steering Committee (the

“Joint Designation”) for the hearing on November 4 and 5, 2021, (the “Hearing”) on the Debtor’s

Motion for an Order (I) Declaring that the Automatic Stay Applies to Certain Actions Against

Non-debtors or (II) Preliminarily Enjoining Such Actions and (III) Granting a Temporary

Restraining Order Pending a Final Hearing (the “Injunction Motion”) [ECF No. 2] filed by the

above-captioned debtor (the “Debtor”) and the responses and memoranda in opposition thereto

[ECF Nos. 44, 45, 49, 50, and 52], including the Meso Claimants’ Memorandum and The MDL

Plaintiffs’ Steering Committee’s Memorandum of Law in Opposition to Debtor’s Motion for an

Order (I) Declaring that the Automatic Stay Applies to Certain Actions Against Non-debtors or

(II) Preliminarily Enjoining Such Actions and (III) Granting a Temporary Restraining Order

Pending a Final Hearing (the “MDL PSC Memorandum”) [ECF No. 49]. Certain Mesothelioma

Claimants and the MDL PSC (together, the “Objecting Parties-in-interest”) so designate the

following exhibits and witnesses for production at the Hearing, which shall be provided

electronically to the Court and opposing counsel:

                                        List of Exhibits

 Number           Exhibit Description
 Exhibit 1        Barden et al. v. Brenntag et al. Transcript 7/22/2019
 Exhibit 2        Herford v. AT&T Corp. et al. Transcript 10/30/2017
 Exhibit 3        John Hopkins Deposition Transcript 4/11/2018
 Exhibit 4        John Hopkins Deposition Transcript 1/28/2019
 Exhibit 5        In re LTL Management – TRO Hearing Transcript 10/22/2021




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    Exhibit 6            Olson v. J&J et al. Transcript 5/3/2019
    Exhibit 7            Marc Monsaeu 2/24/2004 Email and Lab Test Sheet
    Exhibit 8            3/16/1998 Letter to John C. O’Shaughnessy
    Exhibit 9            J&J JBP Advertisement (1980)
    Exhibit 10           John McKeegan 6/4/2000 Email and AP Story
    Exhibit 11           John McKeegan Deposition Transcript 6/14/2021
    Exhibit 12           J&J “What We Know” Advertisement Review Email 12/17/2018
    Exhibit 13           J&J Letter to U.S. House Subcommittee 3/11/2019
    Exhibit 14           J&J CEO Alex Gorsky Twitter Video December 2018 3
    Exhibit 15           CNN “Mad Money” Screenshot Featuring J&J CEO Alex Gorsky
    Exhibit 16           Olson v.J&J et al. Transcript 5/21/2019
    Exhibit 17           Leavitt Jury Verdict Sheets 3/13/2019
    Exhibit 18           Prudencio Jury Verdict Sheets 8/19/2021
    Exhibit 19           Barden et al. Jury Verdict Sheets 9/11/2019
    Exhibit 20           Olson v. J&J et al. Transcript 5/31/2019
    Exhibit 21           Olson v. J&J et al. Punitive Damages Bonds
    Exhibit 22           J&J Shower to Shower Formulation Letter 10/4/1976
    Exhibit 23           Shower to Shower Respirable Particles Study Letter 6/3/1976
    Exhibit 24           J&J Kolmar Talc Delivery Letter 1/27/1970
    Exhibit 25           Kolmar Labs J&J Formulation Spec Sheet 2/15/1967
    Exhibit 26           McNeill-George v. Brenntag, et al. J&J Interrogatory Responses Filed
                         5/13/2019
    Exhibit 27           Etheridge v. Brenntag et al. J&J 8/27/2019 Memorandum re: JJCI
    Exhibit 28           Barden et al. v. Brenntag et al. Transcript 8/19/2019
    Exhibit 29           Barden et al. v. Brenntag et al. Transcript 9/3/2019
    Exhibit 30           French Affidavit – Dickens 6/20/2018
    Exhibit 31           French Affidavit – Smith 9/10/2018
    Exhibit 32           French Affidavit – English 4/17/2019


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    The video file for Exhibit 14 will be provided to the Court and opposing counsel and may be presented at the Hearing.


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Exhibit 33   French Affidavit – Holleman 4/17/2019
Exhibit 35   LTL Management Interrogatory Responses
Exhibit 36   J&J 1979 Form 10-K
Exhibit 37   J&J 1978 Form 10-K (LTL 19191–234)
Exhibit 40   JJBPC Shareholder Meeting and APA re: Omni Transfer 7/21/1981
Exhibit 41   JJBPC and J&J Dental APA 1/3/1988
Exhibit 42   J&J 1978 Annual Report
Exhibit 43   Personal Products Co. Memo re: Shower to Shower 9/21/1978
Exhibit 44   J&J 1979 Annual Report
Exhibit 45   J&J 1980 Annual Report
Exhibit 46   J&J 1981 Form 10-K
Exhibit 47   Personal Products Co. Shower to Shower Spec Sheet 1/3/1978
Exhibit 48   Personal Products Co. Shower to Shower clinical Test 7/29/1981
Exhibit 49   J&J Executive Committee Actions 7/18/1986–9/11/1986 (LTL 19687)
Exhibit 50   J&J & Cyprus Mines Agreement 1/6/1989
Exhibit 51   Kevin Neat Deposition Transcript 8/6/2021
Exhibit 52   Herford v. AT&T Corp. et al. J&J Interrogatory Responses Filed 5/10/2017
Exhibit 53   Kerkhof et al. v. Brenntag et al. J&J Interrogatory Responses
Exhibit 54   Von Salzen v. Am. Inter. Indus. et al. J&J Interrogatory Responses Filed
             4/2/2018
Exhibit 55   Lopez v. Brenntag et al. J&J Interrogatory Responses Filed 9/20/2018
Exhibit 56   North River & Lloyd’s Insurance Letter re: Talc Claims 5/31/2018 (LTL
             12180–210)
Exhibit 64   Westport Insurance Letter 8/6/2020 (LTL 12483–87)
Exhibit 65   Travelers Insurance Letter 4/22/2021 (LTL 12477–82)
Exhibit 66   Travelers Insurance Letter 9/19/2020 (LTL 12475–76)
Exhibit 67   Travelers Insurance Letter 10/8/2020 (LTL 12471–74)
Exhibit 68   Travelers Insurance Letter 10/2/2020 (LTL 12469–70)
Exhibit 69   Travelers Insurance Letter 9/21/2020 (LTL 12462–68)




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Exhibit 70   Travelers Insurance Letter 9/3/2020 (LTL 12453–55)
Exhibit 71   Travelers Insurance Letter 8/27/2020 (LTL 12450–52)
Exhibit 72   Travelers Insurance Letter 8/24/2020 (LTL 12447–49)
Exhibit 73   Travelers Insurance Letter 8/12/2020 (LTL 12444–46)
Exhibit 74   Travelers Insurance Letter 8/4/2020 (LTL 12439–43)
Exhibit 75   Travelers Insurance Letter 7/29/2020 (LTL 12432–38)
Exhibit 76   Travelers Insurance Letter 9/4/2019 (LTL 12424–27)
Exhibit 77   Travelers Insurance Letter 5/10/2019 (LTL 12420–43)
Exhibit 78   Travelers Insurance Letter 4/8/2019 (LTL 12416–19)
Exhibit 79   Travelers Insurance Letter 3/22/2019 (LTL 12411–15)
Exhibit 80   Travelers Insurance Letter 3/1/2019 (LTL 12409–10)
Exhibit 81   Travelers Insurance Letter 1/7/2019 (LTL 12404–08)
Exhibit 82   Travelers Insurance Letter 4/2/2018 (LTL 12326)
Exhibit 83   Safety National Insurance Letter 8/10/2020 (LTL 12313–15)
Exhibit 84   Multiple Insurance Policies Letter 10/18/2021 (LTL 12310–12)
Exhibit 85   Multiple Insurance Policies Letter 9/21/2021 (LTL 12307–09)
Exhibit 86   Multiple Insurance Policies Letter 8/3/2021 (LTL 12304–06)
Exhibit 87   Multiple Insurance Policies Letter 6/22/2021 (LTL 12301–03)
Exhibit 88   Multiple Insurance Policies Letter 5/25/2021 (LTL 12298–300)
Exhibit 89   Multiple Insurance Policies Letter 4/20/2021 (LTL 12293–95)
Exhibit 90   Multiple Insurance Policies Letter 3/22/2021 (LTL 12290–92)
Exhibit 91   Multiple Insurance Policies Letter 2/22/2021 (LTL 12285–87)
Exhibit 92   Multiple Insurance Policies Letter 10/19/2020 (LTL 12270–72)
Exhibit 93   Multiple Insurance Policies Letter 9/22/2020 (LTL 12267–69)
Exhibit 94   Multiple Insurance Policies Letter 8/19/2020 (LTL 12264–66)
Exhibit 95   Multiple Insurance Policies Letter 7/15/2020 (LTL 12261–63)
Exhibit 96   Multiple Insurance Policies Letter 6/22/2020 (LTL 12258–60)
Exhibit 97   Multiple Insurance Policies Letter 4/1/2020 (LTL 12240–42)
Exhibit 98   Multiple Insurance Policies Letter 8/28/2019 (LTL 12225–27)


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Exhibit 99    Multiple Insurance Policies Letter 8/28/2019 (LTL 12222–24)
Exhibit 100   Multiple Insurance Policies Letter 6/20/2019 (LTL 12219–21)
Exhibit 101   Multiple Insurance Policies Letter 3/20/2019 (LTL 12214–16)
Exhibit 102   Multiple Insurance Policies Letter 1/10/2019 (LTL 12211–13)
Exhibit 125   Fox Verdict Sheet
Exhibit 126   Ristesund Verdict Sheet
Exhibit 127   Slemp Verdict Sheet
Exhibit 128   Ingham, et al. v. Johnson & Johnson, Decision by Missouri Court of
              Appeals, June 23, 2020
Exhibit 129   J&J’s Motion for Entry of Order Modifying Automatic Stay filed in In re
              Imerys Talc America, Inc., Case No. 19-10289 (LSS), Doc. 1567 (Bankr.
              Del. March 20, 2020)
Exhibit 130   Stipulation regarding value of J&J and JJCI filed in Kleiner v. Johnson &
              Johnson and Johnson & Johnson Consumer Inc. in the Court of Common
              Pleas, Philadelphia County on August 11, 2021
Exhibit 131   J&J Form 10-Q, dated July 4, 2021, pgs. 1 and 31
Exhibit 132   J&J Form 8-K, dated October 19, 2021
Exhibit 133   Email dated October 26, 2021 from Susan Sharko to Judge Schneider
              regarding stay of MDL
Exhibit 134   J&J’s Reply Brief to PSC’s Memorandum of Law regarding Stay of MDL,
              Doc. 26052, filed on October 26, 2021
Exhibit 135   Email dated October 27, 2021 from Wayne Fang forwarding correspondence
              from Chief Judge Wolfson
Exhibit 136   J&J’s Omnibus Reply in Support of J&J’s Motion for Entry of Order
              Modifying Automatic Stay filed in In re Imerys Talc America, Inc., Case No.
              19-10289 (LSS), Doc. 1769 (Bankr. Del. May 28, 2020)
Exhibit 137   Email dated December 5, 2020 from Lorena Telofski, FW: Talc – Not For
              Further Distribution (JNJ 000563635)
Exhibit 138   Debtor’s Answers and Objections to Plaintiffs’ Steering Committee First Set
              of Interrogatories, Executed October 28, 2021
Exhibit 139   Plaintiffs’ Second Amended Master Long Form Complaint and Jury
              Demand, MDL No. 16-2738 (FLW) (LHG), Doc. 16132-2, Filed December
              22, 2020




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    Exhibit 140      Indemnification and Defense Agreement (Publix), Dated December 22, 2016
                     (LTL 0019834)
    Exhibit 141      Letter Dated April 10, 2017, re: Walgreen Co. defense and indemnity, sent to
                     Richard Gering from Deborah Moeller (LTL 0020917)
    Exhibit 142      Letter Dated April 10, 2017, re: Walgreen Co. defense and indemnity, sent to
                     Richard Gering from Deborah Moeller (LTL 0020766)
    Exhibit 143      JJCI and J&J October 2021 Supplemental Responses to Plaintiffs’ First Set
                     of Interrogatories, MDL No. 16-2738 (FLW) (LHG)
    Exhibit 144      J&J 1977 Annual Report (JNJTALC 000648170)
    Exhibit 145      J&J 1981 Annual Report (JNJTALC 000648397)
    Exhibit 146      J&J 1982 Annual Report (JNJTALC 000648456)
    Exhibit 147      J&J 1983 Annual Report (JNJTALC 000648518)
    Exhibit 148      J&J 1984 Annual Report (JNJTALC 000648582)
    Exhibit 149      J&J 1985 Annual Report (JNJTALC 000648650)
    Exhibit 150      J&J 1986 Annual Report (JNJTALC 000648718)
    Exhibit 151      Photos: Johnson’s Baby Powder (tin container)
    Exhibit 152      Photo: 1985 Bottle, Trial Bottles
    Exhibit 153      Photo: Johnson & Johnson Foot and Body Powder (back of bottle)
    Exhibit 154      Photos: Shower to Shower
    Exhibit 155      Moure-Cabrera Transcript of Jury Instructions
    Exhibit 156      Moure-Cabrera Verdict Sheet
    Exhibit 157      PSC's Second Amended Notice of 30(b)(6) Deposition of Johnson and
                     Johnson (Tina French Deposition Exhibit 1)
    Exhibit 158      Tina French, Deposition Transcript Designation, August 15, 2018 4
    Exhibit 159      John Hopkins, Barden v. Brenntag et al, Trial Transcript Designation, July
                     22, 2019
    Exhibit 160      Joanne Waldstreicher, M.D., Deposition Transcript Designation, September
                     14, 2018 5


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  The video filed for the Exhibit 158 be provided to the Court and opposing counsel and may be presented at the
Hearing.
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  The video filed for the Exhibit 160 be provided to the Court and opposing counsel and may be presented at the
Hearing.


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 Exhibit 161      Plaintiffs’ First Amended Master Long Form Complaint and Jury Demand,
                  MDL No. 16-2738 (FLW) (LHG), Doc. 132, Filed March 16, 2017
 Exhibit 162      J&J Medical Safety Council - JJMSC Charter - 8/9/2013, LTL 0021817
 Exhibit 163      J&J Medical Safety Council - JJMSC Charter - 6/13/2014, LTL 0021827
 Exhibit 164      J&J Medical Safety Council - JJMSC Charter - 9/15/2015, LTL 0021838
 Exhibit 165      Consumer Medical Safety Council (MSC) Operational Charter - 6/26/2017,
                  LTL 0021848
 Exhibit 166      Consumer Medical Safety Council (MSC) Operational Charter - 6/28/2018,
                  LTL 0021859
 Exhibit 167      Consumer Medical Safety Council (MSC) Operational Charter - 3/6/2019,
                  LTL 0021870
 Exhibit 168      What you need to know about the new JJ Medical Safety Standard,
                  JNJTALC000413044
 Exhibit 169      J&J Medical Safety & Innovation: Commitment to a Patient & Consumer -
                  Centered Approach, JNJ000463760
 Exhibit 170      Project Fortis 2016 September, JNJ000547079
 Exhibit 171      Office of Consumer Medical Safety (OCMS), JNJTALC001383292
 Exhibit 172      Declaration of Melanie L. Cyganowski, October 29, 2021
 Exhibit 173      2018 Draft Screening Assessment on Talc - Health Canada,
                  JNJTALC001094046
 Exhibit 174      2021 Final Screening Assessment on Talc - Health Canada,
                  JNJTALC001494350
 Deposition       LTL Management - Witness Disclosure Letter 10/27/2021
 Exhibit 1
 Deposition       LTL Management - Schirger-Ward Deposition Transcript 10/31/2021
 Exhibit 2
 Deposition       LTL Management - Lisman Deposition Transcript 10/30/2021
 Exhibit 3


       The Objecting Parties-in-interest reserve the right to us or introduce additional evidence

for rebuttal or impeachment purposes.




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                                      List of Witnesses

       The Objecting Parties-in-interest do not intend to produce any witnesses but reserve the

right to cross-examine any witnesses produced by the Debtor.

       Respectfully submitted this, the 3rd day of November, 2021.

WALDREP WALL BABCOCK
& BAILEY PLLC

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Thomas W. Waldrep Jr. (NC Bar No. 11135)                  Cole Hayes (NC Bar No. 44443)
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                                                          Jennifer S. Feeney
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing JOINT DESIGNATION OF
EXHIBITS AND WITNESSES OF CERTAIN MESOTHELIOMA CLAIMANTS AND
THE MDL PLAINTIFFS’ STEERING COMMITTEE was filed electronically in accordance
with the local rules and served upon all parties registered in this matter for electronic service
through the CM/ECF system.

       This, the 3rd day of November, 2021.


                                                    WALDREP WALL BABCOCK
                                                    & BAILEY PLLC

                                                    /s/ Thomas W. Waldrep, Jr.
                                                    Thomas W. Waldrep Jr. (NC Bar No. 11135)
                                                    Kevin L. Sink (NC Bar No. 21041)
                                                    James C. Lanik (NC Bar No. 30454)
                                                    Jennifer B. Lyday (NC Bar No. 39871)
                                                    John R. Van Swearingen (NC Bar No. 53646)
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                                                    Attorneys for Certain Mesothelioma
                                                    Claimants




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